Case 1:01-cv-12257-PBS Document 6586-2 Filed 10/13/09 Page 1 of 5




                    EXHIBIT A
         Case 1:01-cv-12257-PBS Document 6586-2 Filed 10/13/09 Page 2 of 5




              “Draycott, Justin (CIV)”           To <dstorborgJonesDay.com>
              <Justin.Draycottusdoj.gov>

                                                bcc
              09/30/2009 09:50 AM
                                            Subject Re: Outstanding depositions
    History             This message has been replied to and forwarded.


Correct

      Original Message
From: David S. Torborg <dstorborg@JonesDay.com>
To: Draycott, Justin (CIV)
Sent: Tue Sep 29 17:14:39 2009
Subject: RE: Outstanding depositions

Justin,

Just to be clear, am I correct that Government will not produce the
witnesses in response to notices for the 30(b) (6) depositions and the
deposition of Mr. Burney?

Thanks,
- David




                   “Draycott, Justin
                   (CIV)
                   <Justin. Draycott@                                                       To
                   usdoj.gov>                          “David S. Torborg”
                                                       <dstorborg@JonesDay. com>
                                                                                            cc
                   09/29/2009 03:15
                   PM                                                                  Subject
                                                       RE:   Outstanding depositions




First, I can confirm that the Govt continues to believe that Abbott’s
attempt to reopen with respect to matters addressed by J. Bowler on Dec.
4, 2006 is untimely.

The answer to your second question, if I understand it correctly, is
“no.”  Nor do we believe that having the Special Master on the phone
will streamline the depos.  In the event you call the Special Master, I
would like to be on the call.  I am available tomorrow afternoon, but
not tomorrow morning.

Regards,      Justin
       Case 1:01-cv-12257-PBS Document 6586-2 Filed 10/13/09 Page 3 of 5




    -Original Message-
From: David S. Torborg [mailto:dstorborg@JonesDay.com]
Sent: Tuesday, September 29, 2009 2:57 PM
To: Draycott, Justin (CIV)
Cc: egortner@kirkland.com; sreid@kelleydrye.com; John Reale
Subject: RE: Outstanding depositions

Justin,

First, have you provided the Government’s position on the 30(b) (6) and
Burney depositions?  If you did, I didn’t get to me.  You agreed to
provide an answer on that by yesterday.  Please advise.

Second, on the DPP depositions, in the interest of streamlining the
procedure, would the Government agree that the SM’s rulings on
deposition questions is final?  Regardless, we still believe the process
will be more efficient if the depositions are conducted in the presence
of the SM.  At the very least, we could streamline that part of the
review.

Thanks,
- David




             “Draycott,   Justin

             (CIV)”

             <Justin. Draycott@
To
             usdoj.gov>                “David S.   Torborg”

                                       <dstorborg@JonesDay. com>


cc
             09/29/2009 12:13

             PM
Subj ect
                                       RE:   Outstanding depositions
      Case 1:01-cv-12257-PBS Document 6586-2 Filed 10/13/09 Page 4 of 5




David, a question with respect to having Judge van Gestel preside over a
live deposition:
there is no provision in Judge Bowler’s order which contemplates this
type of procedure, more to the point however, there was no agreement by
the parties that the rulings of the special master would be final.
Indeed, we all agreed that the parties could file objections directly
with Judge Saris.  Assume for the sake of argument, that Judge van
Gestel were to overrule a Govt objection during deposition.  As I see
it, the only way for the Govt to preserve its objection for Judge Saris
with respect to such a ruling would be for the Govt to persist in its
instruction that the witness decline to answer.
In this situation, seems to me that there’s little point to having Judge
van Gestel available, real time, to make rulings on the objections.
Your thoughts?



     Original Message
From: David S. Torborg [mailto:dstorborg@JonesDay.com]
Sent: Monday, September 28, 2009 6:31 PM
To: Draycott, Justin (CIV)
Cc: R. Christopher Cook; James R. Daly; egortner@kirkland.com;
sreid@kelleydrye.com
Subject: Outstanding depositions


Justin,

On Friday, we agreed to touch base today to advise of our respective
clients’ positions with respect to outstanding depositions.   Abbott
agreed to consider your thoughts regarding those depositions where the
Government asserted the deliberative process privilege (DPP)  . The
Government agreed to provide a final answer on whether it will provide
designations and dates for the outstanding 30(b) (6) depositions and the
deposition of Mr. Burney, depositions for which Magistrate Bowler
previously denied the Government’s motions for protective orders.

With respect to the outstanding DPP depositions, you provided your view
on how these depositions would proceed should Abbott reconvene the
depositions.   In short, your view was that the parties would end up back:
before the  special master to litigate whether the information sought in
defendants’ questioning would be protected under the qualified DPP.
Because the thwarted questioning involves issues that in our view are
important to the litigation, Abbott remains committed to reconvening
these depositions.   As we discussed Friday, we believe that it will be
much more efficient for the parties, the witnesses, and the Judge van
Gestel to conduct these depositions in the presence of Judge van Gestel
 (in person or by video conference/phone).   Because both parties
anticipate that Judge van Gestel will have to resolve the merit of the
Government’s DPP assertions, we see no reason not to provide him the
real—time opportunity to request information necessary for his rulings,
and to make rulings.    I intend to call Judge van Gestel’s case manager
tomorrow to schedule a conference call with Judge van Gestel to discuss
a suitable approach.   Please advise me if you would like to participate
in my call with the case manager.

Thanks,
— Dave
      Case 1:01-cv-12257-PBS Document 6586-2 Filed 10/13/09 Page 5 of 5



This e-mail (including any attachments) may contain information that is
private, confidential, or protected by attorney—client or other
privilege.
If you received this e—mail in error, please delete it from your system
without copying it and notify sender by reply e-mail, so that our
records can be corrected.




This e-mail (including any attachments) may contain information that is
private, confidential, or protected by attorney—client or other
privilege.
If you received this e—mail in error, please delete it from your system
without copying it and notify sender by reply e-mail, so that our
records can be corrected.




This e-mail (including any attachments) may contain information that is
private, confidential, or protected by attorney—client or other privilege.
If you received this e—mail in error, please delete it from your system
without copying it and notify sender by reply e-mail, so that our records
can be corrected.
